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                       IN THE UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF TEXAS
                                   DALLAS DIVISION

ASSOCIATED RECOVERY,                               §
                                                   §
                       Plaintiff,                  §
                                                   §
v.                                                 §   Civil Action No. 3:16-CV-1025-L
                                                   §   (Consolidated with Civil Action Nos.
ADAM STRONG, et al.,                               §   3:17- CV-424-L and 3:17-CV-651-L)
                                                   §
                       Defendants.                 §

                                              ORDER

        Before the court is Plaintiff’s Motion for Voluntary Dismissal (Doc. 153), filed April 11,

2018. Instead of filing an amended complaint by April 11, 2018, as required by the court’s March

28, 2018 opinion to cure the deficiencies noted with respect to its remaining breach of contract claim

against Defendants SocialBon, Inc.; Floridians, LLC; Media Options, Inc.; Telepathy, Inc.; News,

Ltd.; JRS Holdings, LLC; Sylvia O’Donohoe; Virtual Investments, LLC; and Quinn Vesey, Plaintiff

requests that the court dismiss without prejudice his remaining contract claim and related request for

attorney’s fees against these Defendants. Plaintiff asserts that dismissal without prejudice is

appropriate because none of these Defendants has asserted counterclaims against Plaintiff. Plaintiff’s

motion does not include a certificate of conference as required by the court’s Local Civil Rules, so

it is unclear whether these Defendants oppose dismissal of Plaintiff’s remaining contract claim and

related request for attorney’s fees.

        Under Federal Rule of Civil Procedure 41(a), a plaintiff may voluntarily dismiss an action

without court order, subject to certain provisions of Rule 23, by filing a notice of dismissal before

the opposing party serves either an answer or motion for summary judgment. Fed. R. Civ. P.


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41(a)(1)(A)(i). Rule 41(a)(1)(B) further provides that, unless the notice or stipulation states

otherwise, the dismissal is without prejudice. No answer or motion for summary judgment has been

filed by any Defendant that is the subject of Plaintiff’s motion, and Rule 23 is inapplicable. Except

for three Defendants named in Plaintiff’s motion (Telepathy, Inc.; Virtual Investments, LLC; and

Quinn Vesey) that filed motions in this and related actions to transfer and dismiss Plaintiff’s contact

and other claims, the other Defendants against whom Plaintiff seeks dismissal of its contract claim

and request for attorney’s fees have either not been served or have not filed answers after being

served. Consequently, no order by the court is technically required under Rule 41(a)(1)(A)(i) for

Plaintiff to voluntarily dismiss its remaining contract claim and request for attorney’s fees against

these Defendants, even though it is unclear whether these Defendants oppose dismissal of Plaintiff’s

remaining contract claim and request for attorney’s fees. The court, therefore, grants Plaintiff’s

Motion for Voluntary Dismissal (Doc. 153) and dismisses without prejudice Plaintiff’s remaining

contract claim and related request for attorney’s fees against Defendants SocialBon Inc.; Floridians

LLC; Media Options Inc.; Telepathy Inc.; News Ltd.; JRS Holdings LLC; Sylvia O’Donohoe;

Virtual Investments LLC; and Quinn Vesey.

        The parties shall bear their own costs with respect to Plaintiff’s contract claim and related

request for attorney’s fees; however, in the interest of justice, given the length of time this action and

related actions have been pending against the Defendants that filed motions to transfer and motions

to dismiss Plaintiff’s contract claim and request for attorney’s fees (Telepathy, Inc.; Virtual

Investments, LLC; and Quinn Vesey) , the court orders that, if Plaintiff files another action asserting

the same or similar claims against these Defendants based on the facts of this case, it will be

required to pay all or part of the attorney’s fees and costs that these Defendants reasonably incurred


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in this action with respect to Plaintiff’s contract claim and related request for attorney’s fees, and

Plaintiff will not be allowed to proceed with a new action against these Defendants until such

attorney’s fees and costs, as the court determines, are paid. See Fed. R. Civ. P. 41(d). Further, if

Plaintiff files another action asserting the same or similar claims against these Defendants based

on the facts of this case and dismisses that action, such dismissal will operate as an adjudication

on the merits under Rule 41(a)(1)(B). As no further claims by Plaintiff remain in this action, the

court will enter judgment by separate order pursuant to Rule 58(a) of the Federal Rules of Civil

Procedure.

       It is so ordered this 12th day of April, 2018.



                                                        _________________________________
                                                        Sam A. Lindsay
                                                        United States District Judge




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